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MAJOR RICHARD O'KEEFE, JR. on 01/18/2023

i UNITED STATES DISTRICT COURT

2 EASTERN DISTRICT OF LOUISIANA

3

4 AHMED BAQER, ET AL. NO. 2:20-cv-00980-WBV-DPC
5 DISTRICT JUDGE:

6 WENDY B. VITTER

a VERSUS SECTION "D"

8 MAGISTRATE JUDGE:

9 DONNA PHILLIPS CURRAULT
10 ST. TAMMANY PARISH SECTION "2"

Li GOVERNMENT, ET AL.

15 VIDEOTAPED DEPOSITION OF MAJOR RICHARD
16 SAMPSON O'KEEFE, JR., ST. TAMMANY PARISH

LY SHERIFF'S OFFICE, 2070 N. COLLINS BOULEVARD,

18 COVINGTON, LOUISIANA 70433, taken at the LAW
19 OFFICES OF MILLING BENSON WOODWARD, LLP, 68031
20 CAPITAL TRACE ROW, MANDEVILLE, LOUISIANA 70471,
21 in the above-entitled cause on the 18th day of

22 January, 2023.

24

25

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Page 2 Page 4
1 APPEARANCES: 1 | N D E x
; 2 PAGE:
3 JACOB LITIGATION, INC. 3 Caption 4
4 BY: DEVON M. JACOB, ESQ. 4 Appearances 2. 3
° PeO. BOK 827 5 Agreement of Counsel 5
6 MECHANICSBURG, PENNSYLVANIA 17055 6 Witness’ Certificate 102
a HAE) VER NES 7 Reporter's Certificate 103
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9 ATTORNEY REPRESENTING PLAINTIFFS 9 E x A M | N A T | Oo N
* 10 BY: PAGE:
11
12 ROMANUCCI & BLANDIN, LLC 1? Mr. Jacob 7, 91
* Bes SAN As BARTON, ESQ: 13 Mr. Collings 88
14 321 N. CLARK STREET 14
15 CHICAGO, ILLINOIS 60654 15
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=” 19
a 20
mn 21
72 22
3 23 REPORTED BY:
a 24 ANNA M. ROTH, RPR, CCR
% 25 CERTIFIED COURT REPORTER
Page 3 Page 5
1 APPEARANCES: (Continued) 4 STIPULATI ON
2 2 IT IS HEREBY STIPULATED AND AGREED by and
3 MIEUENG BENSON MOCONARD, GLP 3 among counsel for the parties hereto that the
¢ Sit GEARWREHIM., CORRENGS,. FER: 4 videotaped deposition of the aforementioned
; 8032) CAPETAL. TRACE ROW 5 witness is hereby being taken under the Federal
§ NORD ER EE ERP TENS Bank 6 Rules of Civil Procedure, for trial purposes, in
7 (a8)! 22222008 7 accordance with law;
Geet Lingsemis aia Cee 8 That the formalities of sealing,
a 9 certification, and filing are specifically
10 ST. TAMMANY PARISH SHERIFF'S OFFICE 10 waived;
th 11 That the formality of reading and signing
af 12 is specifically not waived;
a 13 That all objections, save those as to form
a4 14 of the question and the responsiveness of the
15 15 answer, are hereby reserved until such time as
46 16 this deposition, or any part thereof, may be used
aa 17 or sought to be used in evidence.
18 18 sk we OK
a2 19 ANNA M. ROTH, Certified Court Reporter, in
26 20 and for the Parish of St. Tammany, State of
a 21 Louisiana, officiated in administering the oath
22 to the witness.
23 23
24 a4
25 25
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1 MAJOR RICHARD SAMPSON O'KEEFE, JR., ST. 1 my questions answered. Okay?
2 TAMMANY PARISH SHERIFF'S OFFICE, 2070 N. COLLINS | 2 A. Sure.
3 BOULEVARD, COVINGTON, LOUISIANA 70433, after 3 Q. Allright. So, again, we'll do the
4 having first been duly sworn by the 4 best to get you in here -- in and out of here as
5 above-mentioned Court Reporter, did testify as 5 soon as possible. The more direct the answers
6 follows: 6 are, the quicker this goes.
7 MR. JACOB: 7 If at any point in time you need a
8 And, Chad, I'll just give you the 8 break for any reason, just let me know. I'd be
9 same standing objection for the video. 9 more than happy to accommodate. You don't have
10 MR. COLLINGS: 10 totell me why. You can just say, "I just want a
11 Yeah. | was going to do the same 11 break.” I just ask if there's a question
12 objection as before. 12 pending, that we at least answer that question
13 MR. JACOB: 13 before we take a break. Okay?
14 Fair enough. 14 A. Fair enough.
15 MR. COLLINGS: 15 Q. And you're doing a good job as far
16 | made an objection to his recording 16 as verbalizing your answers because gestures and
17 of the deposition in addition to having a 17 “uh-huh" and “uh-uh" --
18 court reporter. We made the objection in 18 A. Sure.
19 the other two depositions that we've had 19 Q. -- are impossible to explain later
20 so far in this case. 20 onthe record. So | just ask that you continue
21 So to the extent that there's a 21 todo that. Okay?
22 question as to the usability, 22 A. Yes, sir.
23 admissibility of the video, we're going to 23 Q. And the court reporter has two
24 make an objection now. With that, please 24 hands, but it's not one for you and one for me.
25 answer this gentleman's questions. 25 Sol'm going to do my best to let you finish your
Page 7 Page 9
1 EXAMINATION BY MR. JACOB: 1 answers before | begin my questions. But I'm
2 Q. Allright. Give me one second. I'm 2 going to ask that you do the same. Even if you
3 sorry. 3 can guess where I'm going, just let me get the
4 Okay. Can you state your full name 4 full question out so it can be taken down before
5 for the record? 5 you begin your answer. Okay?
6 A. Richard Sampson O'Keefe, Jr. 6 A. Yes, sir.
7 Q. And have you ever given a deposition | 7 Q. Is there any reason that you
8 before? 8 wouldn't be able to answer truthfully questions
9 A. If so, it was a very long time ago 9 here today?
10 over, | think, a car accident. 10 A. No, sir.
11 Q. Allright. Fairenough. Sol'm 11 Q. No medication or medical condition
12 Devon Jacob; my co-counsel, Sam Harton. 12 that would prevent you from doing so?
13 MS. HARTON: 13 A. No, sir.
14 Harton. 14 Q. Fair enough. | can tell you're in
15 BY MR. JACOB: 15 uniform, so you work for an agency. Which agency
16 Q. Harton. | always mispronounce her | 16 do you work for?
17 lastname. I'm sorry. But, in any case, we 17 A. The St. Tammany Sheriffs Office.
18 represent the plaintiffs in this matter. 18 Q@. And how long have you worked for
19 A deposition is an opportunity for 19 them?
20 me to ask factual questions of you. It's not an 20 A. December the 26th made 24 years, and
21 opportunity for me to play games or torture you | 21 | was a reserve for two years before that.
22 or anything like that. The reason is because | 22 Q. You say, "a reserve.” Is that still
23 was not there for events, or | don't work for the 23 with the sheriff's office?
24 agency, so, naturally, | have to go to the 24 A. Itis. It's a volunteer individual
25 persons who have the information in order to get | 25 that gives forth their time, goes through basic
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1 training and such. 1 Q. Allright. I'm sorry. Let me just
2 Q. Okay. So approximately 26 years 2 get to -- sorry. The computers are only as smart
3 then in law enforcement? 3 as the people operating them, and so I'll just
4 A. Yes, sir. 4 leave it at that.
5 Q. And since you are in uniform, what 5 In 2019, you were not a major then,
6 rank do you have right now? 6 correct?
7 A. Major. 7 A. That's correct.
8 Q. And where does that fall in the 8 Q. What rank did you hold then?
9 hierarchy? 9 A. Captain.
10 A. Just below chief. 10 Q. So as captain, what were your
11 Q. Okay. And then above chief would |11 responsibilities?
12 be? 12 A. So at the jail, | was a captain over
13 A. Chief deputy. 13 the support division, which is bonding, booking.
14 Q. And then above chief deputy would | 14 The kitchen fell under me. Commissary. | think
15 be? 15 that was it.
16 A. The sheriff. 16 Q. Okay. Now, when you said that you
17 Q. The sheriff. When did you become a|17 were in charge of these respective areas, did you
18 major? 18 do the direct supervision of the staff that was
19 A. Two years, | believe. Pretty close 19 working in these areas?
20 to that. 20 A. Define "directly."
21 Q. So around 2021 or 20207? 21 Q. Meaning, like booking, would you go
22 A. Yes, sir. 22 back to booking and actually work booking with
23 Q. And in 2019 and 2020, you were 23 the staff?
24 employed by the sheriff's office? 24 A. | would not.
25 A. Yes, sir. 25 Q. Oronany given day, would you be
Page 11 Page 13
1 Q. And during that period of time, 1 back in booking?
2 where were you assigned? 2 A. If | went up there to grab a piece
3 A. Sol was at the jail from 3 of paper, just a general, "Hello. How are y'all
4 November 19th, | believe. 8th. Sometime 4 today?" But as far as day-to-day work, no, sir.
5 November 2018 until December 2019 at the jail. 5 Q. Okay. So it's not as if you were
6 And then | went to be the captain over the 6 like the shift supervisor for booking?
7 traffic and marine division. 7 A. No, sir.
8 Q. Okay. Have you reviewed the federal 8 Q. Where was your office, for instance,
9 complaints, the lawsuits -- 9 inrelation to Building B?
10 A. Yes, sir. 10 A. It was in Building B.
11 Q. --in this matter? 11 Q. Okay. And Building B would be where
12 A. Sorry. Yes, sir, | did. 12 the pretrial detainees were, correct?
13 Q. Okay. So you've seen the names of 13 A. The ones in holding.
14 the plaintiffs? 14 Q. In holding?
15 A. Yes, sir. 15 A. Not the pretrial dorms. They would
16 Q. Do you have any personal 16 have been in the back of the jail.
17 recollection of them? 17 Q. Understood.
18 A. No, sir. 18 A. Front end would be the B Building.
19 Q. Do you even know if you've ever 19 You have booking, bonding, administration, female
20 interacted with them personally? 20 holding -- or female dorms, as well as female
21 A. No, sir. 21 holding.
22 Q@. And so if! were to bring one of 22 Q. Okay. And then the back part of the
23 them in here and say, "Do you know who this is," | 23 building was the pretrial parish detainees?
24 you wouldn't be able to tell me? 24 A. Yes, sir.
25 A. No, sir. 25 Q. Your office then with respect

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1 geographically within the building, could you see| 1 A. Yes, sir.
2 the holding cells? 2 Q. And so you, at least, could see the
3 A. No, sir. 3 conditions of the cells from where you were
4 Q. Was your office even near where the 4 standing?
5 holding cells were? 5 A. From a bird's-eye view, | guess, per
6 A. It was, you know, through three 6 se, yes, sir.
7 secure doors. But! guess, the way the bird f Q. Okay. And you could see that there
8 would fly, | was probably from here to the front 8 were inmates in the cells, for instance?
9 door away from them. 9 A. Yes, sir.
10 Q. Okay. But just so | understand, and 10 Q. With respect to your promotion to
11 [think | do, you had sort of a business office 11 the jail, had you been on patrol before that?
12 side to the building and then the corrections 12 A. I've been in several divisions.
13 lockdown secure part of the facility? 13 Most recently before my promotion | was a
14 A. That's correct. 14 lieutenant in the narcotics division.
15 Q. And so your office would have been 15 Q. Okay. Had you ever worked in the
16 inthe business office side of the building? 16 corrections side prior to being promoted to the
17 A. Yes, sir. 17 position where you then ended up in?
18 Q. And would there have been whole days | 18 A. Noton a day-to-day basis. I've
19 or weeks where you never even went into the 19 been in there for a shakedown, you know. We
20 secure side of the building? 20 would have 40 people go in and search for
21 A. No. That would be a stretch, you 21 contraband. When | was a reserve, it was a
22 know. | mean, walk, like | said, say, "Hello," 22 requirement before you went out on patrol that
23 you know. | had a disadvantage when | went 23 you had to do, | think it was 24 hours. | did
24 there, | did not work in the jail. 24 18 hours straight one day. | think they gave me
25 Q. Okay. 25 credit for time served, and | never had to go
Page 15 Page 17
1 A. | got promoted there. So doing — 1 back. So other than those limited times, | had
2 building relationships, you know, letting these 2 never worked in the jail.
3 people know who | was, you know. In essence, a 3 Q. Okay. So how was it then that you
4 guy off the street who never worked in there. So 4 were moved into a supervisory position over
5 | was busy doing relationship building and such. 5 corrections personnel having not worked that job?
6 Or, like | said, would go grab a piece of paper 6 A. | believe that my skills as far as
7 off the printer or something like that. But 7 being a motivator, innovative, obviously, been in
8 never hung out in there and knew what the 8 the job kind of understanding what our law
9 day-to-day was, in essence. 9 enforcement job is in general. | don't want to
10 Q. Okay. So if you went back to the 10 use the word like "next up," but | think that an
11 holding area, for instance, you're back there for |11 opening opened up there. | had been a lieutenant
12 less than a half hour? 12 for five years. I'm not sure if | was the most
13 A. Yeah. Not even. 13 senior lieutenant at the time. But | believe my
14 Q. Noteven. Okay. So -- 14 history, work ethic, is what got me there.
15 A. And | never -- | went into the 15 Q. Okay. Did you ever receive any
16 control area not necessarily where the holding 16 formal training, though, with respect to
17 cells are. | wasn't like at the door of the 17 corrections?
18 holding cells. | was up top, | guess, is what 18 A. Not other than regular POST 1
19 they called it. 19 academy. We had the -- whatever everybody had to
20 Q. Okay. But from where you were, 20 do. | think it was the PREA course. And then |
21 could you see the holding cells? 21 don't remember which months, but it wasn't a
22 A. Yes, sir. 22 requirement for me to go to the corrections POST
23 Q. And! don't mean see them onavideo | 23 course, but! did. | guess maybe the spring of
24 screen. I mean, literally with youreyes could | 24 2019.
25 you see the holding cells? 25 Q. Okay. But when you say, "the
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1 corrections POST course," is that the academy for| 1 she also had an office. But she would frequent,
2 corrections? 2 you know -- she didn't sit in her office for
3 A. That's right. 3 eight hours a day, you know. She would get on
4 Q. And so you went through that whole 4 the floor and, you know, make sure her folks were
5 academy even though you didn't have to? 5 doing what they needed to do.
6 A. Well, we didn't have to -- we didn't 6 Q. So the highest level floor
7 have to go through all of it because our POST 1 7 supervisor, would you say that would be the
8 was a lot of the criminal procedures and codes 8 lieutenant?
9 andsuch. So we didn't have to go every day of 9 A. Sergeant.
10 the class. There were certain blocks of 10 Q. Oh, sergeant. Okay.
11 instruction that we had to go to. 11 A. Because they're always there.
12 Q. Okay. And, presumably, then it 12 Q. Okay.
13 helped you to know how a jail was to function? 13 A. Asergeant or corporal on the shift
14 A. Sure. 14 is -- you know, they work the rotating shifts.
15 Q. And separate from the POST training, 15 Q. Okay. And then how many lieutenants
16 did you have policies and procedures related to {16 did you supervise?
17 the jail that you then had to learn? 17 A. Just one. Just one over booking and
18 A. | mean, any division I've gone to, 18 bonding. The kitchen staff, | don't really
19 familiarizing myself on the policy was 19 remember what their rank were. | think she was
20 advantageous, for sure. Sol had already had 20 the only lieutenant that | supervised. | could
21 that before | got to the POST class as far as 21 be wrong, but | think that's pretty accurate.
22 familiarizing myself with the policies. 22 Q. And then | asked it, but | think |
23 Q. Were you ever provided with any 23 took you ona tangent. So your responsibility
24 training, though, with respect to how to 24 with respect to the holding cells would have been
25 supervise a jail? 25 what?
Page 19 Page 21
4 A. No, sir, not specific to the jail. 4 A. Supervising the lieutenant ensuring
2 ButI had been to supervisor training before. 2 that! provided whatever tools necessary,
3 Q. Okay. For instance, were you ever 3 problem-solving. Ifa problem was to come up
4 provided with training with respect to what state | 4 through her, or let's just say she was absent,
5 or federal laws needed to be complied with in the) 5 her sergeants, then | would address those issues.
6 jail? 6 Q. So you answered to the next level.
7 A. Not before | was promoted there. 7 And did they also supervise the holding cells?
8 Q. And once you were promoted there, 8 A. | answered to the warden.
9 you did receive training on rules and -- not 9 Q. Okay.
10 rules and regulations -- sorry -- standards and 10 A. He was responsible for the entire
11 laws that were applicable? 11 facility.
12 A. The policies and then, of course, 12 Q. Okay. Day to day, did you have
13 when | went through POST. 13 responsibilities for the holding cells?
14 Q. Okay. What responsibilities 14 A. Other than supervising the people
15 specific to the holding cells did you have, if 15 and making sure there weren't any issues, | was
16 any? 16 not an overseer of day-to-day operations when |
17 A. So the shifts were made up of 17 was there. Only problem-solving, human
18 sergeants, corporals, and deputies. There was a 18 resource-type issues, discipline, things of those
19 lieutenant that oversaw those individuals, and | 19 nature.
20 supervised the lieutenant. 20 Q. So for an issue to reach your desk,
21 Q. Okay. So would the lieutenant be 21 would it have to be sort of out of the ordinary
22 out on the floor with the sergeants and the 22 of the day to day?
23 deputies? 23 A. | can't really recall any major
24 A. Very rarely. She was one person. 24 issues that we ever really had during my time
25 So she was responsible for all four shifts. So 25 there. So there wasn't anything major that | can

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1 recall that | had to address immediately. 1 A. Not that I'm aware of.
2 Q. Okay. We deposed --| deposed a 2 Q. Do you know if there's even a policy
3 representative from the sheriff's office 3 that was in place in 2019 regarding how long
4 yesterday. So, in a sense, | deposed the 4 somebody is to be in a holding cell?
5 sheriff's office. And | just had another 5 A. Yeah, | don't believe so.
6 deposition with Mr. Longino, | think he said is 6 Q. And do you know, what was the
7 how he pronounced it. You're familiar with him? | 7 purpose of the holding cell as opposed to general
8 A. lam. 8 population?
9 Q. And you're familiar with Ms. Lacey? 9 A. So holding cells gave us an
10 A. lam. 10 opportunity to keep an eye on these individuals.
11 Q. Okay. Those were the two deponents. | 11 Obviously, when they come into the facilities,
12 A. Yes, sir. 12 they are most prone to suicide, hurting
13 Q. It has been reported that at times 13 themselves. Obviously, being impaired. Keep
14 there was overcrowding in the holding cells. Is | 14 them up there. We go through a medical screening
15 that your recollection? 15 process there. They're asked questions when they
16 A. [| don't know if "overcrowding" would 16 comein. Depending on what their response is,
17 be the right word. | know that we daily got 17 sometimes a medical person comes up immediately
18 counts. And so, obviously, | saw the numbers. 18 to see the individual. Other times — | don't
19 And, you know, there were -- probably weekly we | 19 remember what the window was that medical had to
20 would try to get people to the back, get them 20 see these individuals as they came in. What was
21 released, work with the commissioner, the 21 -
22 district attorney's office, probation and parole, 22 Q. I think you pretty much hit on it.
23. to try to lower that number. 23 Do you know, what's the purpose of a
24 Q. Okay. We were told that the fire 24 holding cell, though, as opposed to general
25 marshal sets, or set, a certain capacity limit 25 population?
Page 23 Page 25

1 forthe holding cell area. Are you aware of 4 A. Of course, the things | mentioned.
2 that? 2 And then, of course, you know, there was no
3 A. | know the fire marshal is 3 advantage for the staff that worked for me to
4 responsible for that, yes, sir. 4 keep somebody up front. Ifa bed was available,
5 Q@. And do you know what that capacity 5 we rolled them back as quick as possible. That
6 was? 6 was one less thing that our folks had to worry
7 A. | do not right now. 7 about on the front side of the house, booking.
8 Q. Iwas advised -- it could be wrong 8 So there would be no reason to not
9 information — but that you were supposed to have | 9 roll somebody back if, you know, we had 20 in
10 no more than 80 people total in the aggregate in | 10 holding, and there are 20 beds at that time. We
11. the holding cell area. Are you familiar with 11 would do our best to get them back there as
12 that? 12 quickly as possible. Manpower. Of course,
13 A. | think there were 20-man - fire 13 ensuring that this individual isn't a risk to
14 marshal had said, you know, 20 per holding cell. 14 themselves where they would go somewhere else.
15 Q. Okay. Other than the fire marshal 15 But going through all those assessments. Those
16 restriction of 20 per cell, are you aware of any 16 assessments take time. Once those were played
17 other standard that -- or law that would govern 17 out, then we would roll them to the back.
18 how many you could place in a holding cell? 18 Q. Do you know if a holding cell is
19 A. No, sir. 19 designed for short-term confinement or long-term
20 Q. How about with respect to length of 20 confinement?
21 time that somebody could be in a holding cell? 21 A. | would imagine short term.
22 A. No, sir. 22 Q. Asa supervisor back in the holding
23 Q. Was there any restriction at the 23 cells, do you know the answer to that question?
24 facility regarding how long somebody could be in | 24 A. Know the answer to?
25 a holding cell? 25 Q. Well, you said, "| would guess.” |

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1 mean, is it for short term or for long term? 1 Q. Okay. And, again, | understand.
2 A. Short term. 2 We're talking averages. We're not talking norms.
3 Q. And what does that mean to you based 3 So you're telling me, on average,
4 onyour experience and training? What does 4 about a day to get a detainee through the
5 “short term" mean? 5 process?
6 A. Well, | guess in that aspect, a 6 A. That's not what | said.
7 short term of the jail stay, as quickly as we can 7 Q. Okay. No. | don't mean to put
8 get them to the back. 8 words in your mouth. Go ahead.
9 Q. Okay. But, again, because | didn't 9 A. I|said closer to a day than the
10 work in corrections, so I'm just wondering, is 10 two-week time that you had asked.
11 there an actual definition of short-term 11 Q. Okay. So one to two days. Would
12 confinement as opposed to long-term confinement? |12 that be more accurate?
13 A. | don't believe so. 13 A. | never worked on the floor. |
14 Q. And, 1 mean, is there a set of 14 don't know what the exact processes and time
15 standards that would apply to short-term 15 restraints are.
16 confinement as opposed to long-term confinement? | 16 Q. Okay. Do you know if during 2019
17 A. | don't know if there would be a set 17 there were any policies that pertained to the
18 of standards. Just as | mentioned, we would want 18 holding cells?
19 to get them back as quickly and feasibly as 19 A. | do not know.
20 possible. You know, manpower. Ensuring they've 20 Q. And, I mean, not to be smart, but
21 cleared medical. They're not suicidal. The 21 why don't you know that if you were overseeing
22 general questions in processing, you know, 22 booking?
23 fingerprinting them and putting them into NCIC, Za A. Well, | don't recall a specific
24 all those things take time. 24 holding policy that | read.
25 Q. Okay. About how much time would it 25 Q. Okay. Do you recall -- even if you
Page 27 Page 29
1 time, you know, in an ideal situation, to process 1 don't recall there being maybe a written policy,
2 asingle inmate? 2 do you recall any policies or procedures just by
3 A. No idea. 3 your mind, like, "Yes, | know we always did 'X,""
4 Q. | mean, I'm assuming there are set 4 or, "Il know we always did 'Y," as you sit here
5 procedures, though, for processing an inmate who 5 today?
6 is coming in or a detainee who is coming in, 6 A. As far as booking?
7 correct? 7 Q. As far as the holding cells and
8 A. Sure. But | don't think there was a 8 their operation.
9 stopwatch on that. Like, you have "X" amount of 9 A. Ask the question again.
10 time to get this individual to the back, 10 Q. Sure. Even if you can't recalla
11 processed, fingerprinted, -- 11 specific name of a written policy, do you recall
12 Q. But when you were -- 12 any rules or regulations that did pertain to how
13 A. — photographs taken. 13 the holding cells were going to be operated?
14 Q. Sorry. | cut you off. Go ahead. 14 A. [don't think there were rules or
15 A. No. | was - 15 regulations. Maybe procedure, like, this is just
16 Q. Imean, when you were supervising, 16 how we do things.
17 though, and figuring out staffing needs and 17 Q. And this procedure, was that a
18 resource needs, presumably, you would've had some |18 written procedure, or was it sort of a
19 idea how long it takes to process a single 19 hand-me-down training-type thing?
20 detainee, correct? 20 A. I don't -- | don't know.
21 A. | did not. 21 Q. So then when you were supervising
22 Q. Meaning, would it take one day or 22 the holding cell area, how did you know how to
23 two weeks? 23 supervise the holding cell area?
24 A. | would think it would take closer 24 A. | was supervising the people, the
25 to one day than two weeks. 25 lieutenant, the sergeants. Not necessarily the

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1 deputies that were on the floor. 1 A. [do not.
2 Q. Okay. So you were making sure then 2 Q. And what area are you responsible
3 that the supervisors who were supervising the 3 for now?
4 deputies were doing their job correctly? 4 A. I'm over the operations division,
5 A. To the best of my knowledge, yes, 5 which is nothing to do with the jail.
6 sir. 6 Q. Okay. That was going to be my very
7 Q. And so you were supervising the 7 next question. Does it have anything to do with
8 supervisors to make sure that how they were 8 corrections?
9 supervising the individual deputies was correct, 9 A. No, sir.
10 right? 10 Q. Allright. | want to talk a little
11 A. Yes, sir. 11 about the general population for pretrial
12 Q. And so when you would evaluate 12 detainees if we could for a second here.
13 whether your supervisors were correctly 13 It's my understanding that they got
14 supervising their deputies, how did you do that |14 bedding. They gota pillow, a mattress, sheet,
15 if you didn't know what rules or regulations were |15 blanket; is that correct?
16 to be complied with? 16 A. | didn't work in the back of the
17 A. As stated, the lieutenant was who 17 jail. I'm not familiar with what they had.
18 | was solely responsible for on a day to day. 18 Q. All right.
19 The lieutenant and the sergeant supervised the 19 A. They had beds. They had a mattress.
20 deputies that are over the process, in essence. 20 | don't know when they got those.
21 But just like in any supervisory role, you're not 21 Q. Okay. Did you ever direct that the
22 going to be able to be with them every step of 22 holding cell detainee should be provided with the
23 the day no matter what you're supervising unless 23 same bedding?
24 you're a one-man show. And you have to depend on | 24 A. No.
25 your supervisors to point out things that are not 25 Q. Why not?
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1 accurate or need to be fixed and bring it up the 4 A. We never did that.
2 chain, which would have come to me so that | 2 Q. Well, | know, "We never did that,”
3 could do what needed to be done from there, 3 but my question is more why?
4 whether it was bring it up to the warden or solve 4 A. | can't explain it.
5 the issue. 5 Q. Okay. Was that ever even
6 Q. So if the lieutenant -- just 6 considered, that, hey, we have people sleeping on
7 hypothetical, if the lieutenant came to you and 7 cement?
8 said, "We have 27 in the holding cell, is that 8 A. No, sir.
9 okay,” you wouldn't know one way or the other 9 Q. Why not?
10 because you don't know what rules and regulations | 10 A. | don't know. | don't --
11 apply to that? 11 Q. Do you know whether there's any
12 A. | would have asked - obviously, | 12 state regulation that governed whether or not a
13 knew when | got there, you know, "Hey, we have a 13 pretrial detainee is to be provided with bedding?
14 high number today. You know, we need to do our 14 A. | do not.
15 best." And so, yes, | would know. She would 15 Q. And so do you know if there were any
16 come to me and say, "Hey, you know, we have more 146 -let's start with federal laws. Do you know if
17 than we normally have in here." 17 there are any federal laws that govern how
18 Q. But what if the lieutenant said, 18 holding cells or pretrial detainees are to be
19 "How many are we allowed to have in here," would |19 housed?
20 you know the answer to that? 20 A. Not that I'm aware of.
21 A. [would have gone to the warden. 21 Q. Or the conditions of confinement for
22 Q. You would have gone to the warden? 22 pretrial detainees?
23 A. If it was my first day, you know. 23 A. No, sir.
24 Q. Okay. Do you still presently 24 Q. And I'm talking about the time frame
25 oversee the booking area? 25 when you were supervising this area.
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1 A. Sure. 1 needed to be complied with?
2 Q. Are you aware of any state laws that 2 A. Sure. | was.
3 governed how -- the conditions of confinement for | 3 Q. Okay. And so what did you do about
4 pretrial detainees? 4 that concern to educate yourself?
5 A. | don't recall. 5 A. Read policy. There were two
6 Q. Sois this something that you think 6 captains also in administration with me at the
7 you knew at one time, and you just don't 7 time, the warden. | had questions, you know,
8 remember? 8 obviously, like | stated, they kind of took me
9 A. That's possible. 9 in, kind of gave me the rundown of the jail.
10 Q. Okay. But as you sit here today, 10 When | got there, | didn't know where the B
11 you can’t tell me whether there is state or 11 Building was, the A Building, C Building, D
12 federal law that governs how pretrial 12 Building, anything like that. So I'm sure there
13 detainees -- the conditions that they're 13 was discussion of the operation. But,
14 permitted to be housed in? 14 specifically, | don't recall.
15 A. No, sir. 15 Q. So while you were supervising the
16 Q. How about standards or operating 16 lieutenant, who oversees the boots-on-the-ground
17 procedures from any agency of the government | 17 supervisors with respect to the holding cell
18 regarding how pretrial detainees are permitted to |18 area, you did not personally know whether they
19 be housed? 19 were in compliance by law or not in compliance by
20 A. If they're there, I'm not familiar 20 law?
21 with them. 21 A. Wekind of had an open-door policy.
22 Q. So that wouldn't have been a 22 So if she would have come to me with an issue and
23 conversation that you ever had with your 23 | didn't know the answer to, such as the question
24 lieutenants, correct? 24 you're asking, | would have asked one of the
25 A. Not directly. 25 other captains that had been there for 20-plus
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1 Q. Okay. What do you mean by, "not 1 years or the warden.
2 directly"? 2 Q. But, again, the lieutenant wasn't
3 A. Like, it wasn't something | would 3 supervising you. You were supervising the
4 call them in, and we'd have a discussion about. 4 lieutenant. So when you would go and look at the
5 Q. Do you recall ever having a 5 lieutenant's work and look at the issue that the
6 conversation with your lieutenant regarding, “Are 6 lieutenant was supervising, in that case the
7 we complying with all state and federal laws with 7 holding cell area, you didn’t know whether you
8 respect to how we're housing pretrial detainees"? 8 were complying with all standards and laws,
9 A. No, sir. 9 correct?
10 Q. Why not? 10 A. During my time there, | believe we
11 A. | just didn't. 11 had three inspections, which we passed. So if we
12 Q. Do you recall ever having a 12 were out of line, they would have found them
13 conversation at any time with your lieutenant 13 there. So there were no, "No, this is an issue,"
14 regarding, “Are we complying with all agency 14 brought to my attention.
15 standards, state, federal, with respect to 15 Q. Okay. Now, with respect to those
16 housing pretrial detainees"? 16 inspections, do you know if they were state DOC,
17 A. No, sir. 17 or were they federal government?
18 Q. Was there any concern about whether 18 A. Both.
19 --did you have any concern as a supervisor 19 Q. Okay. | think you said three?
20 whether or not -- number one, whether or not 20 A. There were three.
21 there were any such standards or laws that 21 Q. Which three?
22 governed the issue? 22 A. Two --| think there were two DOC
23 A. Say that again. 23 and one federal.
24 Q. Yes. Were you as a supervisor even 24 Q. And when they -- I'm sorry. Go
25 concerned about whether there were standards that | 25 ahead.

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1 A. Yeah. It might have been three DOC 1 understanding of the DOC state inspection was the
2 inspections while | was there. | can't remember 2 entire facility.
3. if it was three total or three DOC and one 3 Q. Was there a report generated as far
4 federal. 4 as the result of the inspections?
5 Q. Okay. With respect to those 5 A. [would imagine. | don't have it.
6 inspections, were they with respect to the 6 But! think DPS or DOC, Department of
7 housing area where -- for instance, the DOC 7 Corrections, after they do it, they send it back
8 inspection was with respect to the building that 8 tous, what areas we get approved in.
9 housed the DOC inmates? 9 Q. Okay.
10 A. The whole jail. 10 MR. JACOB:
11 Q. So even though the DOC inmates were | 11 So I'm going to make a document
12 only in one building, DOC came in and inspected | 12 request for the inspections around the
13 the entire jail? 13 time of these incidents, that they be
14 A. Yes, sir. 14 produced.
15 Q. Including the pretrial detainee 15 BY MR. JACOB:
16 housing area? 16 Q. How is it that -- or let me ask it
17 A. Ithink so. | believe so. But! 17 this way. Was there a process for logging in
18 wasn't walking around with them. My 18 complaints about anything related to holding?
19 understanding, they were there to inspect the 19 A. From inmates?
20 entire jail. 20 Q. From anyone.
21 Q. Okay. But as you sit here today, 21 A. Yeah.
22 you just don't know the scope of the inspection? | 22 Q. And what was that process?
23 A. That's correct. 23 A. | don't remember the name of the
24 Q. But, 1 guess, you do know it was at 24 form. But the standard form that -- you know,
25 least the DOC building for the DOC inspection; is | 25 they could complain about anything on there.
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1 that fair? 1 Q. Okay. "They" being inmates?
2 A. No. | just said | thought it was 2 A. Inmates.
3 the entire facility, not specific areas. 3 Q. Okay.
4 Q. No. | understand. I'm saying, 4 A. Facility-wide.
5 though, that while you can't say with certainty 5 Q. Allright. What about a complaint
6 the scope, could we at least agree, though, that 6 from a deputy?
7 they at least were inspecting the DOC building? 7 A. Such as? Like, if a deputy made a
8 A. [think that would make sense. 8 complaint of --
9 Q. Okay. That's all I'm saying. 9 Q. How the holding cell is being run.
10 And same with the federal 10 A. And so what's your question about
11 inspection. Can you say with certainty the scope |11 it? If they were to make a complaint?
12 of the inspections? 12 Q. Is there a process used to log those
13 A. | know it wasn't as in depth as the 13 types of complaints?
14 state DOC was. I'm sure they checked where we 14 A. | would imagine he could speak to a
15 housed the federal inmates. But | don't recall 15 supervisor about it or send an e-mail.
16 specifically what areas they wanted to go to. 16 Q. Okay. But I'm hearing you say sort
17 Q. Okay. So, again, just to make sure 17 of speculating how it could occur. But do you
18 I'm being fair here, with respect to the state 18 know of any process that was in place?
19 and federal inspections that you recall 19 A. | would guess that it's the same as
20 occurring, while you're pretty certain that -- 20 any area of the sheriff's office. | mean, we
21 excuse me -- the DOC inspected the DOC building | 21 don't have like a comment box where you can leave
22 and the feds inspected the fed building, you're 22 acomment like, "Hey, this is what we can improve
23 not sure whether the inspection encompassed the | 23 on." You would have to be forthcoming and say,
24 rest of the jail? 24 "We need to have this addressed," and would
25 A. For the federal, | don't recall. My 25 follow the proper chain of command.
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1 Q. So it's your understanding then that 1 A. If they were counseled on the
2 those types of complaints would be submitted toa | 2 matter, there would be a record of it. I'm not
3 supervisor? 3 sure of alog. | don't recall a log.
4 A, That's correct. 4 Q. But as a supervisor back there in
5 Q. And were those -- would those types 5 charge of supervising the lieutenant, you were
6 of complaints be logged anywhere? 6 not aware of any place that 25 unfounded
7 A. Not that I'm aware of. 7 grievances would be logged with respect to a
8 Q. Do you know if there were any 8 single deputy?
9 complaints from guards with respect to how the 9 A. That's correct.
10 holding cell area was being run? 10 Q. So you wouldn't be able to see that
11 A. Not that I'm aware of. 11. even if they were all unfounded, huh, we have a
12 Q. And is that because if there were, 12 pattern building with this one guard?
13 they weren't logged? 13 A. No log that I'm aware of.
14 A. | don't know as far as logging. | 14 Q. Okay. So am I correct then, you
15 can't think of one off the top of my head that 15 wouldn't see a pattern emerging because there was
16 gotto me. 16 no place to find that data?
17 Q. Fair enough. With respect to -- | 17 A. Very possible.
18 think you were describing a grievance process for | 18 Q. My understanding is that the holding
19 the inmates? 19 cell area, that the lights do not go off ever.
20 A. That sounds right. 20 Are you aware of that?
21 Q. Okay. So am|correct that when an 21 A. Yes, sir.
22 inmate submits a grievance, that grievance goes | 22 Q. And my understanding is in the
23 with the inmate's file? 23 general population, though, the lights do go off
24 A. | don't - | don't remember. 24 from roughly 10:30 to like 6:00 something in the
25 Q. And am correct that even if the 25 morning. Are you aware of that?
Page 43 Page 45.
1 grievance is ultimately found to be unfounded, 1 A. Yes.
2. that it still goes with the inmate's file? 2 Q. And do you know why it is then that
3 A. | don't recall. 3 the lights don't go off in the holding cell area
4 Q. And am|correct that if you had 25 4 but do go off in general population?
5 complaints about a certain guard with respect to 5 A. Sure. | believe our personnel in
6 the treatment of inmates in the holding cell, if 6 the booking area are responsible for every one of
7 they were all unfounded, there would be no 7 these, as well as other tasks at the time,
8 separate log for that employee for those 8 booking, you know, taking in an inmate or such.
9 complaints? 9 Lights stay on.
10 A. Well, if the person had a write-up, 10 As | mentioned earlier to you, it's
11 those things are logged, yes. 11 the most depressing for people as they come into
12 Q. Okay. But my question is more, if 12 our facility. Suicides, we've been taught that
13 25 grievances were filed against Guard A for not 13 that's a time that we need to be mindful and
14 providing water to an inmate and all 25 of them 14 watching. Kind of like our suicide watch areas
15 were unfounded, am! correct, the only existence 15 in our facility, we don't turn the lights off
16 of that data would be in the inmate's file? 16 there either. Safety. Lights off, it would be
17 A. | donot know. 17 difficult to see if people were fighting in
18 Q. And am! correct that you, as a 18 there. So, you know, they've always covered
19 supervisor, wouldn't be able to go into a 19 their heads sleeping in there. That's what |
20 computer system and say, "I want to see how many | 20 got.
21 complaints were made about this guard for the 21 Q. Are you aware of whether it would be
22 holding cell area"? 22 more dangerous to house two inmates in a holding
23 A. Unless they were counseled on the 23 cell as opposed to 20-plus inmates in a holding
24 matter. 24 cell?
25 Q. So that's correct? 25 A. Am | aware?
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1 Q. Whether it would be more dangerous 1 urine on the floor of the holding cells?

2 or less dangerous? 2 A. No, sir.

3 MR. COLLINGS: 3 Q. Were you ever aware of the fact of

4 Object to the form. 4 feces ever being on the floor of the holding

5 You can answer the question. | have 5 cells?

6 to make objections to the form on the 6 A. No, sir. We -

7 record from time to time. 7 Q. Go ahead. I'm sorry.

8 THE WITNESS: 8 A. We had trustee that was in the B

9 Yeah. No telling. You know, a guy 9 Dorm and that was pretty much his sole

10 could be suicidal and doesn't care to hurt 10 responsibility, is to mop floors and clean up.

11 the other guy if there's two of them. And 11 Q. Okay. Were you aware of blood in

12 then there could be 20 in there, and none 12. the holding cell?

13 of them have any -- want to do any harm to 13 A. If there were blood and our deputies

14 the other guys. 14 were made aware of it, the trustee would have

15 BY MR. JACOB: 15 gone in there and cleaned it up.

16 Q. Do you believe, though, that there’s 16 Q. Intheory?

17 anincreased risk of danger when you put 20 17 A. [| guess, in theory.

18 inmates in a cell as opposed to two? 18 Q. Okay. But I'm asking you --

19 A. Again, the same. We could have 20 19 A. Because we can -- you know, we're

20 altar boys, or we can have two murders together 20 not talking about a specific incident. So |

21 inthere at the same time. You know, | can't 21 don't know ofa specific incident where there was

22 speak on what their threshold would be. 22 blood in there that got cleaned up by Trustee 1,

23 Q. Are there certain, | don't want to 23 2,3.

24 say, “types.” | don't know how to describe it. 24 Q. Right. I'm just asking, though.

25 But like, for instance, you talked about murders. | 25 Are you aware of instances where there was blood
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1 Are there certain pretrial detainees who came in 1 inthe holding cell?

2 who are just simply not put in the holding cells 2 A. Sure. There have been fights

3 because they're too dangerous? 3 before, and they were cleaned afterwards.

4 A. | really can't think of a time 4 Q. And are you aware of instances where

5 where, you know, somebody got right back to a 5 there was urine on the floor of the holding

6 tier, maximum security place. There could have 6 cells?

7 been some that came in. | can't think of one. 7 A. No, sir, I'm not.

8 Q. Meaning would an alleged murderer be 8 Q. And are you aware of instances where

9 housed in a holding cell with a scofflaw for 9 there was feces on the floor of the holding

10 parking tickets? 10 cells?

11 A. Yeah. | don't recall. It's 11 A. No, sir.

12 possible, | believe. 12 Q. And are you aware of incidents where

13 Q. Okay. Would you agree with me that 13 there was vomit in the holding cells?

14 20 inmates in a holding cell as opposed to two 14 A. No, sir.

15 inmates in a holding cell is going to make the 15 Q. With respect to meal time, did the

16 holding cell more dirty? 16 pretrial detainees that were in the holding cell

17 A. Again, it could be 20 clean guys 17 eatin the holding cell?

18 versus two dirty guys. 18 A. Yes, sir.

19 Q. Would you agree with me that 20 19 Q. And were they given items to clean

20 people in a holding cell, there's going to be an 20 their hands before they ate?

21 increased risk of medical problems as opposed to | 21 A. [don't recall.

22 two inmates in a holding cell? 22 Q. And do you know if the inmates in

23 A. Sure. 23 the holding cells were provided with outdoor

24 Q. When you were overseeing the holding |24 recreation time?

25 cell area, were you ever aware that there was 25 A. They were not, the best | am aware

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1 of. 1 that was a program to deal with overcrowding at
2 Q. And why not? 2. the jail?
3 A. Again, we're trying to process those 3 A. | didn't specifically know it was
4 individuals to either get them bonded out or get 4 for overcrowding. | thought it was just to
5 them moved to the back, and it wasn't something 5 expedite people getting bonded out and such.
6 that we did. 6 Q. Okay. Are you aware of contracts in
7 Q. Okay. So was there -- | mean, was 7 place for federal inmates and for DOC inmates
8 there a penological interest that was furthered 8 with respect to their housing at the facility?
9 by not providing them with recreation? g A. Aware of them like, did | know about
10 A. Penologic -- what did you say? 10 them? Yes. As far as specific criteria, no.
11 Q. Interest. Was there some sort of 11 Q. Okay. You were aware, though, that,
12. interest of corrections that was furthered by not|12 for instance, the federal government was paying
13 providing them with recreation? 13 for their inmates to be housed at --
14 A. Other than manpower, no, sir. 14 A. Sure.
15 Q. Okay. | mean, was there amanpower | 15 Q._ -- the facility?
16 issue that you were aware of that prevented the | 16 A. Yes.
17 ability to provide recreation? 17 Q. And you were aware that there was a
18 A. There was never a time that we did 18 contract that provided for DOC inmates to be
19 recreation. So I'm not sure if there was a -- if 19 housed at the facility?
20 that's something we did before we were 20 A. Yes, sir.
21. short-staffed. To the best of my knowledge, they | 21 Q. And you're aware that -- are you
22 never have been outside. 22 aware that there was more money provided for the
23 Q. Okay. Are you aware whether there 23 housing of a federal inmate than there was for a
24 were times during 2019 that there was 24 parish detainee?
25 overcrowding in the holding cells? 25 A. Yes, sir.
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1 A. No, sir. 1 Q. And are you aware that there was
2 Q. Soatno time did any of your 2 more money provided for the housing of a DOC
3 subordinates ever come to you and say, "We are | 3 detainee than there was for a parish detainee?
4 now ata situation where we have overcrowding"? | 4 A. No, sir. | didn't know there was a
5 A. | mean, we, again, did everything we 5 difference there.
6 could, if there was anyone in there, to do our 6 Q. Okay. Am| correct that pretrial
7 best to facilitate getting these people bonded 7 detainees for the parish and for DOC and for the
8 out, transferred, sent to the back. 8 feds were in different buildings?
9 Q. lappreciate that, but my question 9 A. |don't know. Those dorms are in
10 was, did any subordinate ever tell you,"We are | 10 the back of the jail, and | can't specifically
11. in an overcrowded status back in the holding 11 say we housed federal inmates. Of course, |
12 cells"? 12 walked in that area before just doing a
13 A. No, sir. 13 walk-through with everyone else. But | don't
14 Q. Are you familiar with Code 6? 14 recall which buildings were what, you know, if
15 A. lam not. 15 this building was solely for pretrials. | think
16 Q. Have you ever heard of Code 6? 16 we ultimately did our best to — that they
17 A. Code — yes, to alleviate folks in 17 separated them. But if there was a four-dorm
18 there through the district attorney's office and 18 building, | can't say that they were all
19 the judges. Is that what you're talking about, 19 pretrials, or this was fed. But there was some
20 Code 6? 20 type of separation. They weren't mixed together.
21 Q. The plan that was put in place to 21 Q. Are you aware that there were
22 deal with the overcrowding, that Code 6. 22 certain beds designated for federal inmates?
23 A. Yes, a little bit. | kind of know 23 A. Yes, sir.
24 how it works. 24 Q. And are you aware that there were
25 Q. Okay. So you're aware of Code 6 25 certain beds designated for DOC inmates?
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1 A. Yes, sir. 1 A. What's the first part of the

2 Q. And are you aware that there were 2 question?

3 certain beds designated for parish pretrial 3 Q. That there were more than 20

4 detainees? 4 detainees in a holding cell and that there were
5 A. Yes, sir. 5 open DOC beds and/or federal beds at the same
6 Q. Did the federal detainees get put in 6 time?

7 the same holding cells as the parish detainees? | 7 A. Yes, sir. There was a count sheet.

8 A. Ido not know. 8 Q. So that is information you would

9 Q. Did the DOC detainees get put into 9 have been aware of?
10 the same holding cells as the parish detainees? | 10 A. Yes, sir.

11 A. Again, | don't know that. | don't 11 Q. And the count sheets, did you

12 --| don't recall what the procedures were, like, 12 receive that daily?

13 if they came -- DOC inmates came back from court, | 13 A. | think they were e-mailed to me,

14 if they would put them in a holding cell before 14 yes, sir.

15 they brought them back to the back. | don't 15 Q. Okay. Is it fair to say then at

16 recall if they went in there or not. 16 least that you looked at the count sheets, if not
17 Q. Would that be logged somewhere? 17 daily, regularly?

18 A. | don't know. 18 A. Yes, sir.

19 MR. JACOB: 19 Q. And did you ever direct that parish
20 I'm going to do a document request 20 pretrial detainees should be taken from the
21 for any documentation that -- 21 holding cells and put in DOC beds or federal beds
22 MR. COLLINGS: 22 that were open?
23 You're going to need to send mea 23 A. No, sir.
24 written request. 24 Q. Why not?
25 MR. JACOB: 25 A. Because those beds were not

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1 That's fine. I'm just putting it on 1 available to the pretrial detainees.

2 the record. 2 Q. Why not?

3 MR. COLLINGS: 3 A. As you stated before, there was a

4 I'm not writing all these things 4 contract in place.

5 down that you're asking for. 5 Q. Okay. But am | correct that the

6 MR. JACOB: 6 only reason there was a contract in place and

7 I'm going to do a document request 7 those beds were provided -- were designated for
8 for any indication or documentation that 8 DOC or a fed was because there was a decision to
9 federal detainees were housed in a 9 enter into that contract?

10 different location than parish detainees, 10 A. | can't answer for -- | wasn't the

11 and the same request for DOC detainees. 11. one who engaged in that contract, sir. | don't

12 BY MR. JACOB: 12 know what the logic was behind it.

13 Q. Am |correct that there were times 13 Q. Okay. But other than -- or, no. So

14 when there was more than 20 detainees ina 14 you will say, though, that you knew that there
15 holding cell, and there were open DOC beds and/or|15 were -- from the sheets, that there would have
16 federal beds? 16 been pretrial -- | want to make sure | say it

17 A. [do not know. 17 right -- pretrial detainees for the parish in the
18 Q. And how do you not know that 18 holding cells at the time that there were open
19 supervising that location? 19 beds for DOC or federal inmates?

20 A. That was three years ago. | don't 20 A. Say it one more time. You keep

21 know. 21 saying, "pretrial detainees.” So pretty much

22 Q. Is that something that you would 22 people in holding.

23 have known and been aware of through the 23 Q. Yes.

24 information that came across your desk as 24 A. Okay.

25 supervisor? 25 Q. That you would have, let's say, more

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1 than 20 in holding at the same time that there 4 A. Yes, sir.
2 were open DOC beds or open federal beds? 2 Q. Was there ever a time -- or do you
3 A. Are you saying would that occur? 3 know whether despite having those contracts, the
4 Q. Yes. 4 DOC and federal contracts, was the parish still
5 A. It's possible, yes. 5 permitted to turn away DOC or federal inmates for
6 Q. Do you recall it occurring? 6 any reason?
t A. Yeah. | mean, we had open beds and 7 A. Not that I'm aware of.
8 - 8 Q. Meaning let's say you have an
9 Q. Go ahead. I'm sorry. 9 overcrowding situation and you determine it's
10 A. -- onthe feds side. Probably 10 getting to be too dangerous, could you just tell
11 sometimes in DOC as well. 141 the DOC, "Listen, we need to take 20 of your beds
12 Q. And when you say, “open,” it means 12 to make a safer situation here at the jail"?
13 that there was no inmate filling those beds, 13 A. | don't recall a time where we had
14 correct? 14 to do that.
15 A. That's correct. 15 Q. Would you be permitted to do that?
16 Q. And that the only reason they were 16 A. That's a question | would have to
17 not filled by pretrial detainees for the parish 17 ask the warden, and possibly the warden would
18 was because they were designated by contract for| 18 have to ask the chief.
19 federal inmates or DOC inmates; is that correct? | 19 Q. Okay. But are you aware of any
20 A. Yes, sir. 20 reason why you couldn't do that other than you
21 Q. That's correct? 21 weren't told you were permitted to do it?
22 A. Yeah. 22 A. That's correct.
23 Q. Allright. So it was a matter of 23 Q. Allright. I'm assuming you always
24 policy or practice that a pretrial detainee for 24 tried to do the best you could for supervising?
25 the parish was not moved into the DOC or the 25 A. Yes, sir.
Page 59 Page 61
1 federal beds; is that correct? 4 Q. Were you ever frustrated, though, in
2 A. Yes, sir. 2 working with the commissioner or with the judges
3 Q. It wasn't a staffing issue? 3 with the status of the housing situation in the
4 A. No. 4 holding cells?
5 Q. It wasn't -- there wasn't any 5 A. No.
6 resource issue other than the fact that the beds 6 Q. I|mean, did you ever have an
7 are already designated for someone else, correct? | 7 opportunity to discuss with the commissioner the
8 A. You might have had somebody in 8 numbers, the amount of inmates being housed in
9 holding that might have been coming to a DOC bed 9 the holding cells?
10 or something that might have been caught up in 10 A. No, sir.
11 holding until the bed was cleaned. You know, | 11 Q. Was overcrowding ever an issue for
12 can recall times that the captain from security 12 you?
13 would say that, you know, a bed was inoperable or 13 A. Not to where we were -- didn't have
14 something in the back. But, yes, there would be 14 anywhere for people to go. | mean, every day you
15 times where there were pretrial detainees in 15 came in, you know, you would if the number was,
16 holding, and they had a federal bed available. 16 you know, 80 or lower. If it was around 80,
17 Q. Okay. And, again, the only reason, 17 then, you know, it might take a call to - Donna
18 the only interest that was being served was to 18 Landrum was our Code 6 representative who worked
19 honor the contract with the feds or the DOC? 19 pretty much in the same office with the
20 A. Say it again. 20 commissioner the majority of the days, "Hey, can
21 Q. That the reason that the bed was not 21 you expedite getting some of these that just came
22 available or being provided to the holding cell 22 in here bonded out," or such.
23 pretrial detainees for the parish was because 23 Q. Okay. And why would you make that
24 that bed was designated by contract to DOC or to | 24 call, though?
25 the feds? 25 A. Todo our best to keep our number

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1 low. 1 even if it wasn't these -- but there were inmates
2 Q. And by keeping that number low, you 2 who were in the holding cells for five, seven, or
3 mean keeping the number below the amount you're | 3 21 days?
4 supposed to have in the holding cell? 4 A. No, sir.
5 A. Around 80 is where we knew we needed 5 Q. Did you ever come to learn that
6 to do our best not to go over that number. 6 there were inmates in the holding cells for two
7 Q. And why is that? Who set that 7 weeks?
8 number? 8 A. No, sir.
9 A. The fire marshal. 9 Q. Did you even care to learn whether
10 Q. Allright. Did you ever get 10 there were inmates in the holding cells during
11 frustrated, though, with the information that 11 the time when you were supervising that were in
12 came back, that, no, we can't lower the number? 12 the holding cells for up to two weeks?
13 A. You know, | kind of - you got to 13 MR. COLLINGS:
14 kind of -- you work with what you got, you know. 14 Object to the form.
15 The judges don't work for me. The commissioner 15 THE WITNESS:
16 doesn't work for me. You know, all we can do is 16 Yes.
17 tell them what we have going on here. And | 17 BY MR. JACOB:
18 think for the most part, they have done a good 18 Q. And when you cared to learn that,
19 job of helping get people out of jail quicker. 19 did you go learn that?
20 Q._ In your personal opinion, though, 20 A. | can't think of a specific time
21 did you ever see or come to learn of situations 21 that! did that. | can't think of a time that
22 in the holding cell that are just not the way 22 they came and said, "Hey, this person has been in
23 people should be living? 23 here for two weeks.”
24 A. No, sir. 24 Q. Did you ever ask your lieutenant,
25 Q. Did you ever know that there were 25 “How long are these people staying in these
Page 63 Page 65
1 certain people living in the holding cells for 1 holding cells"?
2 two weeks? 2 A. No, sir.
3 A. No, sir. 3 Q. Why not?
4 Q. What was the longest time that you 4 A. Because there was no reason for us
5 recall anyone living in the holding cells? 5 to hold those individuals, to keep them in there.
6 A. | don't recall. 6 Itwas as soon as beds became available, we'd get
7 Q. So more than one day? 7 people to the back. There wasn't a purpose to
8 A. Yes, more than one day. 8 leave somebody in the holding cell for an
9 Q. More than three days? 9 extended amount of time. It's a constant process
10 A. Possibly. 10 of people getting rolled to the back bonded out,
11 Q. More than five days? 11 transferred, and people coming in the door being
12 A. Don't know. 12 arrested off the street.
13 Q. Well, when these lawsuits came in, 13 Q. Then why was it that it happened?
14 did you ever go back and look to see were those | 14 A. | can't answer that, sir.
15 inmates housed longer than -- or at the times 15 Q. You understand, though, that those
16 that they say they were? 16 people who were in those holding cells for those
17 A. Did | go back after it was filed to 17 periods of time were sleeping on concrete?
18 look? No. 18 A. Yes, sir.
19 Q. Have you come to learn whether these | 19 Q. And now that you know that, does
20 inmates were, in fact, in the holding cells for 20 that bug you at all?
21 the amount of time that they were stating? 21 A. Two weeks seems like a long time, —
22 A. No, sir. 22 Q. Okay.
23 Q. Since this issue has come up, the 23 A. -if that's the question.
24 lawsuits, have you ever -- or did you evercome | 24 Q. Do you think that that might be
25 to learn that, in fact, there were inmates -- 25 considered a little bit inhumane?
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4 MR. COLLINGS: 1 MR. COLLINGS:
2 Object to the form. 2 Object to the form.
3 THE WITNESS: 3 THE WITNESS:
4 Humane, | envision a dog does not 4 We don't just go around and grab
5 have food or water. These individuals 5 everybody off the street and put them in
6 were provided blankets, medical, showers. 6 jail. So | assume that individuals have a
F They had all the necessities of life. 7 right to do the right thing or the wrong
8 BY MR. JACOB: 8 thing. People that do the right thing,
9 Q. And sleeping on concrete, that 9 they don't go to jail.
10 didn't change that for you? 10 BY MR. JACOB:
11 A. They looked like they were able to 11 Q. And sometimes there are mistakes
12 lay down just fine. 12 made, though, right?
13 Q. Infact, they were sleeping on the 13 A. Sure.
14 floor at times, correct? 14 Q. And sometimes the wrong person is
15 A. Ihave slept on the floor before, 15 arrested, right?
16° sir. 16 MR. COLLINGS:
17 Q. Okay. When did you sleep on the 17 Object to the form.
18 floor? 18 THE WITNESS:
19 A. My choice just like it was their 19 We're not perfect.
20 choice to go to jail. 20 BY MR. JACOB:
21 Q. Oh. It was their choice to go to 21 Q. Okay. So you would agree with me
22 jail? So are you telling me that everyone who is | 22 that there could have been situations where there
23 in jail was definitely guilty of what they were 23 were completely innocent people sitting in the
24 arrested for? 24 holding cells for two weeks?
25 MR. COLLINGS: 25 A. | can't think of a person that was
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1 Object to the form. 1 completely innocent that we put in jail.
2 THE WITNESS: 2 Q. Okay. Well, you weren't really
3 We don't -- we're not the judges, 3 putting them in jail, though, | think you said,
4 sir, of who's guilty or who's not guilty. 4 right?
5 BY MR. JACOB: 5 A. Not at that time.
6 Q. Okay. But you do know it was their 6 Q. Okay. So, again, though, you can't
7 choice to go to jail? 7 rule that out, correct?
8 A. Well, whether it was their choice or 8 A. Yes, sir.
9 not, obviously, the officer felt there was 9 Q. Allright. So do you still want to
10 probable cause or a warrant to put the 10 stand by it was their choice to be in jail?
11. individuals there. 11 A. If we're discussing words, sir, your
12 Q. So it was the officer's choice, -- 12 opinion is it's not their choice, and my opinion,
13 MR. COLLINGS: 13 itis their choice that they made a right or
14 Object to the form. 14 wrong decision.
15 BY MR. JACOB: 15 Q. Fair enough. And because of that,
16 Q. -- correct? 16 too bad, they should just have to suffer whatever
17 A. | would assume so, yeah. It could 17 happens in the holding cells?
18 be the judge if the judge sends somebody there. | 18 A. Suffer from how?
19 Q. Okay. But probably not the 19 Q. Sleeping for two weeks on cement?
20 detainee's choice? Would you agree with me | 20 A. As stated, they were provided
21 there? 21 blankets in an environment that they were fed,
22 A. Well, | don't think anybody wants to 22 provided medical attention. Somebody was
23 go to jail, if that's your question. 23 watching over them.
24 Q. So when you said it was their 24 Q. So if you can't do the time, don't
25 choice, it probably wasn't their choice? 25 do the crime, right?
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4 MR. COLLINGS: 1 our best to get people in beds.

2 Object to the form. 2 Q@. Okay. But the fact that it took two

3 THE WITNESS: 3 weeks at times, why does that matter to you?

4 I've heard that phrase before. 4 Just because it wasn't the best?

5 BY MR. JACOB: 5 A. Wasn't the best, that it was -- what

6 Q. Would you agree with that? 6 are you saying?

7 A. Sure. | would. Z Q. Well, I'm saying the fact that it --

8 Q. Okay. And so you didn't have any 8 actually, let me re-ask that.

9 empathy for people sleeping on cement fortwo | 9 If it did, in fact, take two weeks

10 weeks? 10 to do that, then am | correct you were operating
11 A. Again, | wasn't familiar with 11 at your best?

12 anybody sleeping there for two weeks. 12 A. If it took two weeks, that | was

13 Q. Okay. But you are now? 13 operating at my best. | would like to think we

14 A. Right. 14 were operating at our best in getting people to

15 Q. And so now that you know that, do 15 the back as quickly as possible.

16 you have empathy for the fact that they slept on | 16 Q. Okay. And now you've learned that

17 the concrete for two weeks, or is it the more, if |17 it has taken up to two weeks at times for -- at
18 you can't do the time, don't do the crime? 18 your best, to get people into beds, correct?

19 MR. COLLINGS: 19 A. Yes, sir.

20 Object to the form. 20 Q. And are you okay with that?

21 THE WITNESS: 21 A. Would | be okay with that now, is

22 Yeah. If | could have waved a magic 22 your question?

23 wand, we would have got them to the back 23 Q. Yes.

24 or bonded out. 24 A. Ifabed was open and | can

25 BY MR. JACOB: 25 facilitate them getting to the back, then if

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1 Q. Understood. But the fact that it 1 somebody would have come to me then, in my

2 did happen and the fact that they did sleep on | 2 position then, and said, "We've had this guy for

3 concrete, is it still your opinion, like, "Oh, 3 however long, Do we have a bed available, Can we

4 well, if you can't do the time, don't do the 4 get him to the back,” "Why is he still here"?

5 crime"? 5 Those would be questions | would ask.

6 A. | don't know if, "Oh, well," would 6 Q. Allright. So if, as a supervisor,

7 be the answer. 7 you know, like you said, somebody comes to you

8 Q. Maybe not, "Oh, well." But if you 8 and says, "Listen, on average, we have detainees

9 don't want be in a holding cell, don't do the 9 who are sleeping on concrete for two weeks at a

10 crime? 10 time because of how we are running things here,”
11 MR. COLLINGS: 11 is that a problem for you as a supervisor?

12 Object to the form. 12 A. If somebody came to me and asked me,

13 THE WITNESS: 13 that was the question?

14 Well, again, there's a process of 14 Q. Uh-huh (affirmatively).

15 how we get people to the back. There's no 15 A. Well, if the resources were

16 reason that we would hold an individual in 16 available for those individuals to go to the

17 holding for two weeks unless, of course, 17 back, then I'd say, "We have a problem. We

18 there are no beds available. 18 should have got these individuals to the back."

19 BY MR. JACOB: 19 But if you're coming to me saying that we had no

20 Q. Okay. So, again, knowing that it 20 beds available, and this lady or gentleman is

21 happened, though, does it really matter to you, | 21. still up in the front, would it concern me, yes,

22 or is it just, "Oh, well, they did the crime"? 22 but there would be nothing that | can do about

23 A. It matters. 23. it. | can't control how we release people.

24 Q. Why does it matter? 24 Q. Okay. But what if they said, "But,

25 A. Well, | mean, because we want to do 25 by the way, we have open beds in DOC and fed, but
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1 we have people sleeping on concrete for two 1 Q. Okay. Was it because there's

2 weeks"? 2 probable cause, they probably did it?

3 A. Those beds were not an option. 3 A. Probable cause -- that a judge says

4 Q. Why not? 4 that there was probable cause that existed for

5 A. Again, like | said earlier, the 5 their arrest.

6 contract was in place before | got there, sir. | 6 Q. Am|correct, though, there were

7 don't know how it was created or why. | don't 7 times when people would have been arrested and
8 know. 8 brought right to the -- to be, you know, held at

9 Q. Okay. But the bed is open, and, 9 your facility without going to a judge first?

10 literally, you could walk the inmate from Point A| 10 A. | think at that time that that was a

11 to that bed, correct? 11 practice. But an ex officio officer would sign

12 MR. COLLINGS: 12 off on the probable cause forms until | think the

13 Object to the form. 13 commissioner at the time could sign those

14 THE WITNESS: 14 probable cause forms.

15 | guess relatively speaking, yes. 15 Q. So eventhough there wasn't a

16 BY MR. JACOB: 16 determination of guilt or innocence, in your

17 Q. Okay. 17 mind, they probably did it?

18 A. But there were potentially an empty 18 A. | didn't say that.

19 bed and someone in holding, yes. 19 Q. Okay. Were they to be treated like

20 Q. Okay. 20 anyone else then who has not been arrested?

21 THE WITNESS: 21 A. Sure. That's why they come in in

22 Can | just get another water? 22 handcuffs.

23 MR. COLLINGS: 23 Q. Do you know what the federal

24 Absolutely. 24 constitution is, correct?

25 MR. JACOB: 25 A. Sure.

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1 You just want to take five minutes? 1 Q. And do you know what the Eighth

2 MR. COLLINGS: 2 Amendment to the federal constitution is?

3 Sure. 3 A. Refresh my memory.

4 (Brief recess was taken.) 4 Q. Well, I'm asking you if you know.

5 BY MR. JACOB: 5 A. | don't know off the top of my head.

6 Q. We just had an opportunity for a 6 Q. Do you know what the Fourteenth

7 break. You're prepared to continue? 7 Amendment is?

8 A. Yes, sir. 8 A. Not off the top of my head.

9 Q. We were talking earlier about the 9 Q. Do you know if the Eighth Amendment
10 pretrial detainees in the holding cell and about |10 or Fourteenth Amendment governs a jail?

11 whether it was their choice or not their choice | 11 A. | donot know.

12 tobeinthere. Do you recall that? 12 Q. Were you ever provided with any

13 A. Yes, sir. 13 training with respect to what the federal

14 Q. Would you agree with me that people | 14 constitutional rights are of pretrial detainees?
15 are innocent until proven guilty? 15 A. I'm not quite sure | ever gota

16 A. Yes, sir. 16 specific pretrial detainee amendment or

17 Q. Allright. So it sounds to me, 17 constitution.

18 though, that at least you were viewing the 18 Q. Do you know whether, for instance --
19 detainees differently than innocent at that time? |19 or did you know whether pretrial detainees were
20 A. Again, | don't -- | don't have the 20 to be treated differently than convicted inmates?
21 ability to say this person is innocent or guilty. 21 A. [donot recall.

22 They've been brought to our facility based on 22 Q. Do you know whether you were ever

23 probable cause or warrant arrest. To decide 23 provided with any training that pretrial

24 whether they're innocent or guilty at that point 24 detainees enjoy greater rights than convicted
25 did not matter. 25 inmates?
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A. I'm not familiar with a law that

specifically says that, sir.

Q. Andso when you were supervising,
you certainly weren't considering those issues,
correct?

A. The Fourth -- the Eighth and
Fourteenth Amendment? | mean, number-wise, I'm
not going to say what they are. | don't recall

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incident that was presented to me or that |

observed, that | felt that we were violating
anybody's rights.

Q. Okay. But at the same time, I'm
hearing you say it wasn't a conversation that you
were having with your lieutenants as far as
whether or not state and federal law was being
complied with; is that correct?

specifically. 9 A. [can't recall a specific
Q. Did you ever know -- could you 10 conversation | had in reference to that.
articulate what any constitutional rights are at | 11 Q. Even if not specifically, can you
the federal level enjoyed by any inmate either [12 recall, "Yeah, that's something during our weekly
convicted or a pretrial detainee? 13 meeting | would always ask, ‘Are we in compliance
A. Not off the top of my head, sir. 14 with state and federal law"?
Q. And is that something that you ever 15 A. That's not a question | would have
knew? 16 asked, sir.
A. Maybe. 17 Q. Just give me one second here, if you
Q. Imean, do you recall, "Oh, yeah. 18 would.
We had a whole week on these are the rights of | 19 You said that you reviewed the two
20 inmates. | just can't sit here and tell about 20 lawsuits that were filed in this matter, correct?
21 =it"? 21 A. Yes, sir.
22 MR. COLLINGS: 22 Q. Do you -- as you sit here today, are
23 Object to the form. 23 you aware of any evidence that would rebut
24 THE WITNESS: 24 anything that these inmates were saying?
25 That's possible, sir. 25 A. Do you have a specific question? |
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1 BY MR. JACOB: 1 mean, it was --
2 Q. And when do you think that that 2 Q. Yes.
3 would have occurred? 3 A. -- a 50-page document.
4 A. My basic training academy or 4 Q. Correct. And while you were reading
5 possibly the corrections POST course. 5 it and reviewing it and preparing for your
6 Q. Okay. Was that a conversation that 6 deposition, did you ever say, "Well, | know
7 you would have with the lieutenant, “Are we 7 that's not true. We have proof of that"?
8 complying with these inmates’ federal & A. In reference to the entirety of the
9 constitutional rights"? 9 -—if there was — ask the question one more
10 A. | don't recall having a specific 10 time.
11 conversation, no, sir. 11 Q. Sure. With respect to any of the
12 Q. Is that something that was in your 12 claims that you read and reviewed, did you ever
13 checklist of supervising, that you're going to 13 say, "Oh, well, | know for a fact this is false
14 ask your lieutenants, "Are we complying with all 14 because I can show you in this document or that
15 state and federal law"? 15 document," or, "I can prove it this way or that
16 A. | didn't have a specific checklist, 16 way"?
17. sir. 17 A. |mean, one of the specifics, |
18 Q. Okay. Was that one of the things, 18 don't remember which person it was, but he said
19 though, that concerned you, whether you're 19 he had a change of clothes, but he didn't have a
20 complying with state or federal law when you were | 20 shower.
21 supervising the lieutenant? 21 Q. Okay.
22 A. Sure. 22 A. He wouldn't have gotten a change of
23 Q. And what did you do then to address 23 clothes unless he had a shower.
24 that concern of yours? 24 Q. Okay. Ifthe procedure was
25 A. Again, | can't speak of a specific 25 followed?

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A. True.

Q. Okay. So what I'm hearing you say
is that you can't say with certainty that what he
said didn't happen? You're just saying that we
had a procedure in place, and if the procedure
was followed, that wouldn't have happened; is
that fair?

A. If the procedures were followed, it
wouldn't have happened. Again, | don't remember
verbatim what the exact charges are, but you
know, when | read it, just like the example |
just gave you, that was one of the things it was,
like, well, this couldn't have been.

Q. Okay. So one of the allegations are
that there were bodily fluids or feces on the
floor at times, that inmates were sleeping on
these dirty floors. Do you have any evidence to
establish that that, in fact, did not happen?

A. No, sir.

Q. Okay. Some of the claims are that
these inmates at times were sleeping on these
feces, vomit, blood, urine floors for up to two
weeks at atime. Do you have any evidence to
establish that that did not happen?

A. | would say that daily they were

10

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Q. Yeah. Any information that, you

know, the more crowded the situation becomes, the
more stressful for the inmate it becomes?

A. Am | aware of - I'm not aware of
any study that would suggest that.

Q. Is that a common understanding,
though, that the more crowded the environment,
the more increased stress on the inmate?

A. If it's a common, as you put it, I'm

not aware of it.

Q. And how about with respect to fresh
air and recreation? Are you aware of in the
industry that when you take that away from an
individual, their stress level increases?

A. Specifically, no, sir.

Q. You were considered a pretty high
level supervisor at the facility, correct?

A. Yes, sir.

Q. And what did you do to keep yourself
informed as far as the standard in the industry?

A. | guess on-the-job training with
associates that have been involved in corrections
for, at the time, their careers. Of course, |
went to POST, corrections POST, and didn't have
to do that. We had some maybe specific — it was

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cleaned by the hall trustee that was there. When

they went out to showers, they clean up. After
feed up, they take the food and such out of those
holding facilities.

Q. Okay. That was the procedure,

correct?

A. To say that it went unclean for two

weeks, it would be unimaginable.

Q. But how about that they had to sleep
on floors, though, that had those bodily fluids
on them for up to two weeks?

A. If it was pointed out, | would hope
that it was addressed.

Q. But, again, my question is, do you
have any evidence to rebut a claim that some of
these inmates were sleeping on feces and urine
each night at least -- not whether it was cleaned
during the day -- but at least each night for up
to two weeks?

A. No, sir.

Q. Are you aware of any evidence or any
information in the industry that the more inmates
you place in a cell, it decreases the emotional
well-being of the inmate?

A. Am | aware of a study you said?

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Police 1, the same thing the patrol guys get, you
know. The training division can say that they
want our patrol guys to talk about traffic stops
or such. Correction guys would have their own
bank, so you don't have corrections guys watching
traffic stop videos. So | believe there were
some of those videos while | was in corrections
at the time.
Q. Okay. And am| correct that the
practice in place in 2019 was that you could have
a pretrial detainee sleeping on a floor that had
urine and other bodily fluids, and you would not
move that inmate into a DOC bed or a federal bed?
MR. COLLINGS:
Object to the form.
THE WITNESS:
| don't believe that was the
practice at all, sir.
BY MR. JACOB:
Q. So it was that that inmate would be
moved to the DOC bed or the federal bed?
A. | believe they would have been moved
to an available bed.
Q. Okay. But if there was no pretrial
bed available, they would stay in that

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1 environment as opposed to being moved to a DOC or} 1 Q. Okay.
2 a federal bed, correct? 2 MS. HARTON:
3 A. As far as the specific, feces, 3 I'm good.
4 urine, they would be held in holding until an 4 MR. JACOB:
5 available bed, pretrial bed, was available for 5 I'm good. Tender.
6 them. Those are the only beds available. 6 MR. COLLINGS:
7 Q. Sothey would sleep on concrete, 7 Tender?
8 either the bench or the floor, even if there's an 8 EXAMINATION BY MR. COLLINGS:
9 open bed back in DOC or fed? That was the 9 Q. Okay. Major O'Keefe, do you the
10 practice? 10 recall the years, from what year to what year,
11 A. It would be possible, yes, sir. 11 you were actually assigned to the jail?
12 Q. Well, it's not that it would be 12 A. Yes, sir. January -- not January.
13 possible. That was the practice, correct? 13. Excuse me. November 2018 to December - first,
14 A. Those beds were not available to 14 second week of December of 2019.
15 pretrial detainees. 15 Q. Soalittle over one year?
16 Q. So that was the practice, correct? 16 A. Yes, sir.
17 A. Yes, sir. 17 Q. Okay. Soin the time that you were
18 Q. Allright. And that was a practice 18 there as a captain inside the jail in 2018 and
19 that you knew about, correct? 19 2019, is it safe to say that the resources
20 A. Yes, sir. 20 allocated to housing inmates and moving inmates
21 Q. And that you did not change? 21 within the facility was scarce at times?
22 A. No, sir. 22 MR. JACOB:
23 Q. And you let it continue, correct? 23 Objection.
24 A. It wasn't a matter of letting. 24 THE WITNESS:
25 Those beds were not available. 25 Yes, sir.
Page 87 Page 89
1 Q. Well, they were open, correct? 1 BY MR. COLLINGS:
2 A. They weren't available for me as a 2 Q. And when I say, "resources," | mean
3. captain. 3 -- I'm defining that as available beds. Would
4 Q. Okay. But you allowed that to 4 you agree with that?
5 continue, correct? 5 A. Absolutely.
6 MR. COLLINGS: 6 Q. There was scarcity of available beds
7 Object to the form. Asked and 7 from time to time in that year, correct?
8 answered. 8 MR. JACOB:
9 THE WITNESS: 9 Objection.
10 Answer again? 10 THE WITNESS:
11 MR. COLLINGS: 11 Yes, sir.
12 Please. 12 BY MR. COLLINGS:
13 THE WITNESS: 13 Q. And there was also scarcity of
14 | would not have been in a position 14 manpower at times within the facility?
15 to open any additional beds up. They 15 A. Yes, sir.
16 were, as you said, contractually assigned. | 16 Q. And did those two things combine to
17 BY MR. JACOB: 17 slow down the processing of inmates or detainees
18 Q. So you did nothing, though, to 18 from the holding cells to what we call the back
19 change that practice, correct? 19 of the jail, which is the tiers?
20 MR. COLLINGS: 20 A. Yes, sir.
21 Object to the form. Asked and 21 Q. Allright. Was there any time -- to
22 answered. 22 your knowledge, was there ever an intent to delay
23 THE WITNESS: 23 the transferring of detainees from the holding
24 | did not. 24 areas to the back of the jail for any punitive
25 BY MR. JACOB: 25 intent?
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1 A. No, sir. 1 whatever reason, I'm a pretty
2 Q. And you're certain of that? 2 understanding guy.
3 A. Absolutely certain. 3 BY MR. JACOB:
4 Q. Allright. Was there also a 4 Q. Do you think it's humane to have
§ deliberate process by which the holding cells 5 people sleep on concrete for up to two weeks?
6 were cleaned daily? 6 MR. COLLINGS:
r A. Yes, sir. 7 Object to the form.
8 Q. And was it also the policy and 8 THE WITNESS:
9 practice of the sheriff's office so that if, say, 9 Again, | don't look at it as humane
10 for example, the holding cell was mopped out in 10 or inhumane when somebody is in an
11. the morning, but someone then would have vomited | 11 environment with air-condition and heat
12 on the floor later that day, that there was an 12 and blanket and food and medical and
13 available trustee to come in and clean that up? 13 whatever else they possibly could need.
14 A. Absolutely. 14 BY MR. JACOB:
15 Q. And did that occur during the year 15 Q. And locked in a cell for up to two
16 that you were there? 16 weeks with 20-something people, correct?
17 A. Yes, sir. 17 A. Yes, sir.
18 Q. Allright. And, to your knowledge, 18 Q. Allright. You were asked about
19 did the sheriff's office ever refuse to clean the 19 scarcity. Are you saying, though, that if there
20 holding cells during the year that you were in 20 were open DOC beds and open federal beds but no
21. charge of your portion of the jail? 21 pretrial beds, that the issue of beds was scarce?
22 A. No, sir. 22 A. If -- say it again.
23 Q. All right. 23 Q. Ijust want to make sure |
24 MR. COLLINGS: 24 understand your definition of "scarce." If 1
25 That's all | have. Thank you. 25 have all pretrial detainee beds filled and | have
Page 91 Page 93
1 REEXAMINATION BY MR. JACOB: 1 20 open DOC beds and 20 open federal beds, is the
2 Q. Sir, if your family member was in 2 issue of beds, that resource scarce?
3 the holding cells, would you be okay with them 3 A. l|only had access to the pretrial
4 sleeping on concrete for up to two weeks? 4 beds in my capacity.
5 MR. COLLINGS: 5 Q. Okay. Again, is that resource
6 Object to the form. 6 scarce?
if THE WITNESS: 7 A. lonly had access to the pretrial
8 lf | understood the process, yes, 8 beds in my capacity.
9 sir. 9 Q. Well, you were just using -- so are
10 BY MR. JACOB: 10 you saying you didn't understand his questions
11 Q. | don't know if you have children. 11 about scarce, --
12 ButI'm just going to say, if you have children, 12 MR. COLLINGS:
13 would you be comfortable with your child sleeping | 13 Objection. Argumentative.
14 onthe floor in a holding cell if you knew that 14 BY MR. JACOB:
15 there was a bed that was empty in the DOC wing? | 15 Q. -- scarce resources?
16 MR. COLLINGS: 16 A. That resources were scarce?
17 Object to the form. 17 Q. Right.
18 THE WITNESS: 18 A. So your question is, am | familiar
19 lf | understood the process. If] 19 with were beds scarce? Yes, they were because we
20 was a dad at home and his kid is ina 20 only had pretrial beds to deal with. Was
21 holding facility, would | want him to be 21 resources scarce? Were we short-staffed at
22 comfortable? This guy, probably not. You 22 times? Yes, sir.
23 know, but if | understood the process and 23 Q. And, again, | just want to make
24 that there was not an available bed that 24 sure, though, that I'm understanding your use of
25 this individual could have gone to, for 25 the word “scarce.” What I'm understanding you to

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1 say is, if all the pretrial beds are filled but 1 Q. How so?
2 you have 20 open DOC beds and 20 open federal | 2 A. Well, it's possible that there's not
3 beds, if | ask you, “Was that resource, open 3 adeputy to bring them to the back or oversee a
4 beds, scarce," your answer would be, "Yes"? 4 specific area of the jail. There might be an
5 A. That's not a resource that's 5 area that's being painted or reconstructed in the
6 available to me. 6 back of the jail. So it's possible.
7 Q. Soifl asked you, "Is that resource é Q. Okay. So it's possible. But you're
8 scarce," you'd say, "Yes"? 8 not aware, as you sit here, of any manpower issue
9 A. | just gave you the answer. 9 that prevented a DOC bed from being filled ora
10 Q. No. I'm asking you. In front of a 10 federal bed from being filled, correct?
11. jury I'm going to say, "Is that resource scarce,” | 11 A. Not specifically manpower-wise.
12 and you're going to say -- 12 Q. So there was no manpower issue that
13 A. That resource was not available to 13 prevented an issue, correct?
14 me. So as the captain of the booking and 14 MR. COLLINGS:
15 bonding, that was not even a resource to 15 Object to the form.
16 consider. 16 THE WITNESS:
17 Q. So it's a scarce resource? 17 To the beds that | had access to as
18 MR. COLLINGS: 18 the captain of booking and bonding were
19 Objection. Asked and answered. 19 the pretrial or inmates come into our
20 BY MR. JACOB: 20 facility, those were the only beds
21 Q. You had no problem understanding 21 available to them.
22 when he used the word "scarce," correct? 22 BY MR. JACOB:
23 MR. COLLINGS: 23 Q. And appreciate that. And thank
24 | think now you're getting into an 24 you for sharing that. But back to my question.
25 argumentative -- he has given you an 25 There was no manpower issue that prevented the
Page 95 Page 97
4 answer, Counsel. 1 DOC bed or the federal bed with being filled by a
2 BY MR. JACOB: 2 parish detainee, correct?
3 Q. Am|correct? You had no problem 3 A. | don't know.
4 understanding when he used the word "scarce," 4 Q. You don't know?
5 correct? 5 A. | don't know.
6 A. And I'll reiterate it. Scarce 6 Q. But earlier you were saying the
7 places to put individuals, scarce manpower, 7 resource was scarce, and it prevented it?
8 resources. 8 A. For pretrial beds.
9 So your question is, if they had 9 Q. Oh, for pretrial beds. Okay. But
10 available beds, are they scarce? They weren't 10 that's not my question. My question is, is there
11 available to pretrial detainees. 11 amanpower issue preventing you from putting —
12 Q. No. My question was, if all the 12 or from filling the DOC bed and the federal beds
13 pretrial beds are filled and you have 20 open 13 with a pretrial detainee?
14 beds in DOC and 20 in fed andl ask you, "Is your | 14 A. Not that I'm aware of.
15 bed resource scarce," what is your response going | 15 Q. Okay. So if | ask you in front of
16 tobe? Because I'm going to ask you in front of 16 the jury, you're not going to say that, “Well,
17 the jury. 17 there was a scarcity with respect to manpower
18 A. For pretrial detainees, it is scarce 18 that prevented that,” correct?
19 because they're not available to me. That's what 19 MR. COLLINGS:
20 would be the answer. 20 Object to the form.
21 Q. Now, if we were to move an inmate 21 THE WITNESS:
22 from the holding cell into a DOC bed -- I'm not 22 | think the process, in general,
23 saying you would have, but I'm just saying if we 23 getting people back to the --
24 did --is there a different manpower issue? 24 BY MR. JACOB:
25 A. Possibly. 25 Q. My question. Not yours.
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1 MR. COLLINGS: 4 A. We would have to talk about a
2 Hold on. Hold on. Oh, no. 2 specific issue. You know, if there's a portion
3 MR. JACOB: 3 of the jail that we were housing these
4 No. 4 individuals and there wasn't a guard, then you
5 MR. COLLINGS: 5 would have a manpower issue.
6 You got to let him finish. 6 Q. Except for you have that runner who
7 BY MR. JACOB: 7 plays backup who can fill any position, correct?
8 Q. My question. Not yours. 8 A. Who -- we are short-staffed, and a
9 MR. COLLINGS: 9 runner is not always available.
10 Hold on. He started answering, and 10 Q. But when! saw arunner available on
11 then you're jumping in. 11 the documents that I reviewed, then there was one
12 BY MR. JACOB: 12 available, correct?
13 Q. Again, my question. Not yours. So 13 A. I'm not reviewing those documents,
14 -- 14 sir. | don't specifically know.
15 MR. COLLINGS: 15 Q. So if there was a runner available,
16 Finish your response and then -- 16 though --
17 THE WITNESS: 17 A. | mean, ideally, you know, we have
18 So with manpower as far as getting 18 plenty of runners. But, realistically, we do
19 people from the back to the -- from the 19 not.
20 front to the facility, booking and 20 Q. Ifthe pretrial bed is open, it
21 bonding, to the back of the facility, that 21 doesn't remain open? It gets filled eventually,
22 manpower would definitely be an issue. 22 correct?
23 BY MR. JACOB: 23 A. Yes, sir.
24 Q. Isee. So if a pretrial bed was 24 Q. But if the DOC bed is open, it does
25 open, there wouldn't be a manpower issue? You | 25 not get filled at any time with a pretrial
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1 could move them into there, correct? 1 detainee from the parish, correct?
2 A. Well, sure, there's still a manpower 2 A. Not that I'm aware of.
3 issue. It doesn't change whether a bed becomes 3 Q. And it was not because of a manpower
4 available or not. It's just how expeditiously we 4 issue that it wasn't being filled? It was
5 can get a person into that bed. 5 because of an administrative decision to simply
6 Q. That's great. So there was no 6 contract away those beds, correct?
7 manpower issue that prevented you from actually | 7 A. By the time | got there, those
8 filling the pretrial bed, correct? 8 decisions were already made. | don't know who
g A. Well, there could be a shortage that 9 made the decisions.
10 if a bed came open right now that we couldn't get 10 Q. What I'm saying is, it wasn'ta
11 somebody right then and there into a bed. It 11 resource issue?
12 would be a process. 12 A. Well, those resources weren't
13 Q. So not instantaneously? 13 available to me in my capacity.
14 A. That's correct. 14 Q. Understood. But it wasn'ta
15 Q. Okay. But within a day or two? 15 manpower issue that was preventing you from
16 A. Yes, sir. Possibly. 16 filling that bed? It was you're told that the
17 Q. Okay. So that would be the same 17 bed is not available to you?
18 issue, though, if you were to move them into a 18 A. That's correct.
19 DOC bed, correct? Within a day or two? 19 Q. All right.
20 A. We wouldn't move them into a DOC 20 MR. JACOB:
21 bed. 21 No further questions.
22 Q. Understood. But if you were 22 (Whereupon the proceedings were
23 permitted to, there wouldn't be a manpower issue? | 23 concluded at 3:14 p.m.)
24 It would be the same thing as filling a pretrial 24
25 bed, correct? 25
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a WITNESS' CERTIFICATE
2
3
4 I, MAJOR RICHARD SAMPSON O'KEEFE, JR., do
5 hereby certify that the foregoing testimony was
6 given by me, and the transcription of said
7 testimony, with corrections and/or changes, if
8 any, is true and correct as given by me on the
9 aforementioned date.
10
il
12
a2
14 DATE SIGNED (Witness' Signature)
is
16
17
18 Signed with corrections as noted.
19
20 Signed with no corrections as noted.
21
22
23
24 DATE TAKEN: January 18, 2023
25
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1 REPORTER'S CERTIFICATE
2
This certification is valid only for a
3 transcript accompanied by my original signature
and original seal on this page.
4
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6 certify that MAJOR RICHARD SAMPSON O'KEEFE, JR.,
to whom oath was administered, after having been
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10 and correct transcript to the best of my ability
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in this matter. I am not related ta counsel or
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